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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                        :      Honorable Douglas Arpert

                                                       Mag. No. 12-2547 (DA)

vITNDY RUBL() WITZ

                                                       ORDER FOR CONTINUANCE


        This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing).

and defendant MINDY RLBLOW1TZ (Jerome A. Ballarotto. Esq.. appearing), for an order

granting a continuance of the proceedings in the above-captioned matter: and eight continuances

having previously been granted; and the defendant being aware that she has the right to have the

matter presented to a Grand Jury within thirty (30) days of the date of her arrest pursuant to Title

1 8 U.S.C. § 3 161: and the defendant through her attorney having waived such rights and

consented to the continuance: and for good and sufficient cause shown.

       IT IS THE FINI)ING OF THIS COURT that this action should be continued for the

following reasons:

               1.    Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court. which would thereby render trial

       of this matter unnecessary.

               2.    Defendant has consented to the aforementioned continuance.

               3.    The grant of a continuance will likely conserve judicial resources.

              4.     Pursuant to Title 18 of the United States Code. Section 3161 (h)(7)(A). the

       ends of justice served by granting the continuance outweigh the best interests of the

       public and the defendants in a speedy trial.
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              WHEREFORE, on this                 day of November, 2013;

              ORDERED that the proceedings in the above-captioned matter are continued from

       November 8, 2013 through January 7, 2014; and it is further

              ORDERED that the period between from November 8, 2013 through January 7, 2014

       shall be excludable in computing time under the Speedy Trial Act of 1974.




                                           HON. DOUGLAS RPERT
                                           United States Magisfrate Judge




       JEROME A. LLOTTO, Esq.
       ndant Mindy Rublowitz
